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       Evidence and Proofs
This was shortly after the end of the       ->
2017 festival season. Notice the
blame being placed entirely on me
for the actions of Harlin, saying I
was acting out of a desire to be the
center of attention by courting the
attention of two grown men.
There is difference between criticism
and picking apart the flaws of some-
one to cover up the fact that you
allowed them to be assaulted, hoping
that they would leave on their own
volition and forget everything that
occurred.




                      ^
The passive aggressive Facebook post made by
Harlin regarding me. The cause was something
entirely irrelevant and minuscule. It is not the
responsibility of a seventeen year old girl to
“manage” a grown man.
